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                   Waymo v. Uber
             Case No. 3:17-cv-00939-WHA




              APPENDIX A
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                                                                                                   APPENDIX A
                                                              Pre-Litigation
Document     Description                                      Recipient             Admissibility
                                                              Witnesses
                                                                                    Potentially admissible under Fed. R. Evid. 801(d)(2)(C) as to Stroz's own statements, if Waymo lays appropriate foundation.
                                                              Adam Bentley;
                                                                                    Not admissible under any other provision of Fed. R. Evid. 801.
                                                              Angela Padilla; Eric
                                                                                    Not admissible under any provision of Fed. R. Evid. 803.
                                                              Tate; John Gardner;
                                                                                    Not admissible under any provision of Fed. R. Evid. 804.
                                                              Justin Suhr; Lior Ron
TX-7912                                                                             Embedded hearsay inadmissible under Fed. R. Evid. 805.
             Summary Report - Project Unicorn Investigation
Stroz Report
                                                              Uber believes, but
                                                                                   Because inadmissible embedded hearsay pervades the document, making a limiting instruction ineffective and ensuring jury confusion and unfair
                                                              cannot confirm, that
                                                                                   prejudice to Uber, the document should not be admitted for its truth to any degree. Fed. R. Evid. 403.
                                                              Anthony Levandowski
                                                              received the report.
                                                                                   Potentially admissible for a non-hearsay purpose as to Uber witnesses listed to the left.
                                                                                   Potentially admissible under Fed. R. Evid. 801(d)(2)(C) as to Stroz's own statements, if Waymo lays appropriate foundation.
                                                                                   Not admissible under any other provision of Fed. R. Evid. 801.
                                                                                   Not admissible under any provision of Fed. R. Evid. 803.
                                                              *Adam Bentley;
                                                                                   Not admissible under any provision of Fed. R. Evid. 804.
                                                              *Angela Padilla;
                                                                                   Embedded hearsay inadmissible under Fed. R. Evid. 805.
                                                              *Cameron
TX-7111      Anthony Levandowski (“Levandowski”) Redacted
                                                              Poetzscher; Eric
Exhibit 5    Interview Memorandum and Exhibits                                     Because inadmissible embedded hearsay pervades the document, making a limiting instruction ineffective and ensuring jury confusion and unfair
                                                              Tate; John Gardner;
                                                                                   prejudice to Uber, the document should not be admitted for its truth to any degree. Fed. R. Evid. 403.
                                                              *Justin Suhr; *Nina
                                                              Qi; *Salle Yoo
                                                                                   Potentially admissible for a non-hearsay purpose as to Uber witnesses listed to the left. Witnesses marked with an asterisk received an identical
                                                                                   document prior to the drafting of the Stroz Report, but never received the document as an Exhibit to the Report; questioning must be limited to avoid
                                                                                   misleading the jury as to whether these witnesses ever received any of the Exhibts to the Report as such. Fed. R. Evid. 403.
                                                                                    Potentially admissible under Fed. R. Evid. 801(d)(2)(C) as to Stroz's own statements, if Waymo lays appropriate foundation.
                                                                                    Not admissible under any other provision of Fed. R. Evid. 801.
                                                                                    Not admissible under any provision of Fed. R. Evid. 803.
                                                                                    Not admissible under any provision of Fed. R. Evid. 804.
                                                            *Adam Bentley; Eric     Embedded hearsay inadmissible under Fed. R. Evid. 805.
TX-5215      Lior Ron (“Ron”) Redacted Interview Memorandum Tate; John Gardner;
Exhibit 6    and Exhibits                                   *Justin Suhr; *Lior     Because inadmissible embedded hearsay pervades the document, making a limiting instruction ineffective and ensuring jury confusion and unfair
                                                            Ron                     prejudice to Uber, the document should not be admitted for its truth to any degree. Fed. R. Evid. 403.

                                                                                    Potentially admissible for a non-hearsay purpose as to Uber witnesses listed to the left. Witnesses marked with an asterisk received an identical
                                                                                    document prior to the drafting of the Stroz Report, but never received the document as an Exhibit to the Report; questioning must be limited to avoid
                                                                                    misleading the jury as to whether these witnesses ever received any of the Exhibts to the Report as such. Fed. R. Evid. 403.
                                                                                    Not admissible under any provision of Fed. R. Evid. 801.
                                                                                    Not admissible under any provision of Fed. R. Evid. 803.
                                                                                    Not admissible under any provision of Fed. R. Evid. 804.
TX-7418      Last-Access Report re: Levandowski’s Self-       Eric Tate; John       Embedded hearsay inadmissible under Fed. R. Evid. 805.
Exhibit 15   Identified Data                                  Gardner
                                                                                    Inadmissible for any non-hearsay purpose because Uber never received the document. Potentially admissible for a non-hearsay purpose as to Uber's
                                                                                    outside counsel, but because the jury cannot be asked to speculate as to what advice Uber's attorneys may have provided, the risk of unfair prejudice
                                                                                    substantially outweighs the negligible probative value and the document should be excluded. Fed. R. Evid. 403
                                                                                    Not admissible under any provision of Fed. R. Evid. 801.
                                                                                    Not admissible under any provision of Fed. R. Evid. 803.
                                                                                    Not admissible under any provision of Fed. R. Evid. 804.
TX-7114      Analysis Report of Last-Access Files from        Eric Tate; John       Embedded hearsay inadmissible under Fed. R. Evid. 805.
Exhibit 16   Levandowski’s Self-Identified Data               Gardner
                                                                                    Inadmissible for any non-hearsay purpose because Uber never received the document. Potentially admissible for a non-hearsay purpose as to Uber's
                                                                                    outside counsel, but because the jury cannot be asked to speculate as to what advice Uber's attorneys may have provided, the risk of unfair prejudice
                                                                                    substantially outweighs the negligible probative value and the document should be excluded. Fed. R. Evid. 403.
                                                                                    Potentially admissible under Fed. R. Evid. 801(d)(2)(C) as to Stroz's own statements, if Waymo lays appropriate foundation.
                                                                                    Not admissible under any provision of Fed. R. Evid. 801.
                                                                                    Not admissible under any provision of Fed. R. Evid. 803.
                                                                                    Not admissible under any provision of Fed. R. Evid. 804.
TX-5101      Levandowski Report of Preliminary Forensic       Eric Tate; John
                                                                                    Embedded hearsay inadmissible under Fed. R. Evid. 805.
Exhibit 17   Findings                                         Gardner
                                                                                    Inadmissible for any non-hearsay purpose because Uber never received the document. Potentially admissible for a non-hearsay purpose as to Uber's
                                                                                    outside counsel, but because the jury cannot be asked to speculate as to what advice Uber's attorneys may have provided, the risk of unfair prejudice
                                                                                    substantially outweighs the negligible probative value and the document should be excluded. Fed. R. Evid. 403



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                                                                Witnesses
                                                                                  Potentially admissible under Fed. R. Evid. 801(d)(2)(C) as to Stroz's own statements, if Waymo lays appropriate foundation.
                                                                                  Not admissible under any provision of Fed. R. Evid. 801.
                                                                                  Not admissible under any provision of Fed. R. Evid. 803.
                                                                                  Not admissible under any provision of Fed. R. Evid. 804.
TX-5102      Stroz Friedberg’s Investigative Report re: Shred   Eric Tate; John
                                                                                  Embedded hearsay inadmissible under Fed. R. Evid. 805.
Exhibit 23   Works                                              Gardner
                                                                                  Inadmissible for any non-hearsay purpose because Uber never received the document. Potentially admissible for a non-hearsay purpose as to Uber's
                                                                                  outside counsel, but because the jury cannot be asked to speculate as to what advice Uber's attorneys may have provided, the risk of unfair prejudice
                                                                                  substantially outweighs the negligible probative value and the document should be excluded. Fed. R. Evid. 403.




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